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                              UNITED STATES DISTRICT COURT

                        DISTRICT OF OREGON - PORTLAND DIVISION



  RUSSELL PITKIN and MARY,                                                 Case No: 3:16-cv-02235-AA
  PITKIN, Co-Personal Representatives
  of the ESTATE of MADALINE PITKIN,                        PLAINTIFFS’ RESPONSE TO
  Deceased,                                                MOTION FOR SUMMARY
                                                           JUDGMENT BY CORIZON
                Plaintiffs,                                HEALTH, INC.
      v.
                                                           REQUEST FOR ORAL ARGUMENT
  CORIZON HEALTH, INC., a
  Delaware Corporation; CORIZON

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  HEALTH, INC., a Tennessee Corporation;
  WASHINGTON COUNTY, a government
  body in the State of Oregon; JOSEPH
  MCCARTHY, MD, an individual; COLIN
  STORZ, an individual; LESLIE ONEIL,
  an individual; CJ BUCHANAN, an individual;
  LOUISA DURU, an individual; MOLLY
  JOHNSON, an individual, COURTNEY NYMAN,
  an individual; PAT GARRETT, in his capacity
  as Sheriff for Washington County; JOHN DOES
  1-10; and JANE DOES 1-10.

              Defendants.
  _______________________________




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                                       Certificate of Compliance

          This brief complies with th applicable word-count limitation under LR 7-2(b) because it

  contains 9,382 words, including headings, footnotes and quotations, but excluding the caption, table

  of contents, table of cases and authorities, signature block, exhibits, and any certificates of counsel.

                                            INTRODUCTION

          This Response to Motion for Summary Judgment by Corizon Health, Inc. is supported by the

  Declaration of John Coletti and Supplemental Declaration of John Coletti with Exhibits 101-150, filed

  concurrently herewith.1

          Plaintiffs incorporate their Response to Motion for Summary Judgment by Individual

  Defendants.

                                    SUMMARY OF ARGUMENT

          There is evidence from which a jury could conclude that Madaline Pitkin was deprived of a

  constitutional right to medical care, that Corizon had a policy or custom evincing its deliberate

  indifference to her constitutional right, and that the policy or custom was the moving force behind

  the constitutional violation.

                                      STATEMENT OF FACTS

          Washington County opened its current jail in 1998. At approximately the same time, it

  contracted out its healthcare services for the jail. The County’s initial contract was with Prison




          1
          All footnoted exhibits in this response refer to exhibits to the Declaration of John Coletti
  and Supplemental Declaration of John Coletti.

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  Health Services (PHS), which later became known as Corizon Health, Inc. (Corizon).2

         A.       The Original Contract - Patient Safety.

         In addition to its specific terms, the healthcare contract incorporated Washington County jail

  policies, while specifying healthcare services be provided in compliance with the standards established

  by the National Commission on Correctional Healthcare (NCCHC). The NCCHC standards are

  designed to assure patient safety and represent the national standard of care within the corrections

  healthcare industry.3

         The contract specified the medical provider was to:

                  provide a medical detoxification program for drug and/or alcohol
                  addicted inmates, which shall be administered only at the jail. PHS
                  (Corizon) shall provide intermittent monitoring of the detoxification
                  cells located in the jail to determine the health status of individuals
                  held in this area. Such monitoring shall include, at a minimum,
                  documented vital signs and a determination of level of consciousness
                  every two hours (for severe cases).4

         The NCCHC standards required:

                   inmates experiencing severe, life-threatening intoxication (overdose)
                  or withdrawal are transferred immediately to a licensed acute care
                  facility.5




         2
          Ex 137, Deposition of Chin at 27. Ex 138, Deposition of Otis at 11. Ex 139, Deposition
  of Lynn at 66-140.
         3
          Ex 139, Deposition of Lynn at 80. Ex 133, Deposition of Vaughan at 68. Ex 140,
  Deposition of McQueen at 8-9, 25.
         4
             Ex 139, Deposition of Lynn at 82.
         5
             Ex 133, Deposition of Vaughan at 74. Ex 140, Deposition of McQueen at 19-21.

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         And further that:

                   individuals at risk for progression to more severe levels of intoxication
                   or withdrawal are kept under constant observation by qualified
                   healthcare professionals or health-trained correctional staff, and
                   whenever severe withdrawal symptoms are observed, a physician is
                   consulted promptly…. as a precaution, severe withdrawal syndromes
                   must never be managed outside of a hospital.… In deciding the level
                   of symptoms that can be managed safely at the facility, the responsible
                   physician must take into account the level of medical supervision that
                   is available at all times.6

         PHS and its successor Corizon assured Washington County the medical detoxification

  program would come with a set of treatment protocols which met or exceeded NCCHC standards.

  It also underscored Corizon’s commitment to transfer inmates and detainees experiencing severe

  withdrawal to a licensed acute care facility for management.7

          The Medical Observation Unit (MOU) is a secure area within the jail where the jail's sickest

  patients are housed. 8 The MOU does not qualify as an infirmary or an acute care facility.9 The

  inmates and detainees are kept in individual cells. 10 To gain access, medical personnel must be




         6
             Ex 140, Deposition of McQueen at 19-21.
         7
             Ex 133, Deposition of Vaughan at 74.
         8
          Ex 121, Deposition of Baker at 2. Ex 124, Deposition of Wertz at 9-10. Ex 127,
  Deposition of Forsmann at 24-27.
         9
              Ex 114, Deposition of Storz at 7-8.
         10
          Ex 132, Deposition of Thompson at 2-3. Ex 114, Deposition of Storz at 9, 10-11. Ex
  141, Deposition of Rettler at 24.

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  accompanied by two corrections officers.11

         Corizon’s internal policies and protocols directed staff to:

         •         Send those patients suffering from severe withdrawal to an emergency room;12

         •         In cases of moderate withdrawal, close observation was required;13

         •         When in doubt, the staff was to choose the safest option with the goal being to

                   protect the patient from injury.14

         Corizon’s policies echoed those of the NCCHC in that:

         •         Inmates and detainees experiencing severe life-threatening intoxication or withdrawal

                   were to be transferred to a licensed acute care facility;15

         •         Individuals at risk for progression to more severe levels of withdrawal were to be kept

                   under close observation by a qualified healthcare professional or trained correctional

                   staff and whenever severe withdrawal symptoms were observed, a physician be

                   consulted;16

         •         Patients suffering withdrawals were required to be assessed and treated every day, a



         11
           Ex 121, Deposition of Baker at 3-4. Ex 132, Deposition of Thompson at 3. Ex 127,
  Deposition of Forsmann at 27.
         12
              Ex 107, Deposition of O’Neil at 18. Ex133, Deposition of Vaughan at 74.
         13
              Ex 107, Deposition of O’Neil at 19.
         14
              Ex 107, Deposition of O’Neil at 18.
         15
              Ex 127, Deposition of Forsmann at 54.
         16
              Ex 127, Deposition of Forsmann at 54.

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                   COWS assessment completed every shift during an acute phase of withdrawal;17

         •         Any patient in the medical unit was to be seen every shift, with a focused assessment

                   and vital signs documented, the assessment and scores of all COWS assessments

                   reviewed, and a shift report – every patient;18

         •         When dehydration was detected in a patient, vital signs were required every four

                   hours;19

         •         Patients with abnormal vital signs were to have repeats scheduled.20

         B.        Corizon Knowledge - Health Needs Related to Opioid Withdrawal.

         A predictable and primary byproduct of opioid withdrawal is dehydration. This is outlined

  by Corizon in its policies and procedures.21 Corizon describes in its policies and procedures that

  “dehydration left untreated may lead to death.”22 Dr. Ivor Garlick, a Corizon Regional Director,

  described dehydration as deadly. He testified further that in combination with diarrhea and vomiting

  it becomes severe and life-threatening.23 LPN Tina Barnes knew dehydration was a potentially




         17
              Ex 127, Deposition of Forsmann at 36-37.
         18
              Ex 127, Deposition of Forsmann at 45.
         19
              Ex 135, Deposition of Orr at 7.
         20
              Ex 135, Deposition of Orr at 8.
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              Ex 107, Deposition of O’Neil at 8, 20.
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         23
              Ex 126, Deposition of Garlick at 8-9.

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  dangerous side effect of drug withdrawal which can be deadly if not treated properly.24 Corizon's

  Health Services Administrator was trained that dehydration is a medical emergency.25 Corizon’s

  Director of Nursing knew that dehydration was a medical emergency.26 Corizon employees were

  trained that dehydration, if not timely treated, can cause kidney failure and electrolyte imbalance

  leading to a heart attack.27

          Corizon employees also were well aware that when unable to obtain a blood pressure they

  must send the patient to the emergency room.28 If one tries and is unable to achieve a blood pressure,

  they are facing a life-threatening situation according to Dr. Garlick.29 Corizon employees also knew

  a patient losing consciousness likely has low blood pressure.30

          C.        Corizon’s Custom and Practice - Ignoring the Contract and Standards for
                    Opioid Withdrawal.

          In fact, the monitoring required by contract, by policy and by national standards was ignored

  by Corizon in its entirety. Corizon did not observe the two-hour monitoring provision required by



          24
               Ex 142, Deposition of Barnes at 7.
          25
               Ex 127, Deposition of Forsmann at 17.
          26
               Ex 107, Deposition of O’Neil at 4-5.
          27
           Ex 135, Deposition of Orr at 2-4. Ex 127, Deposition of Forsmann at 18-19. Ex 126,
  Deposition of Garlick at 14-18.
          28
           Ex 107, Deposition of O’Neil at 11-12. Ex 127, Deposition of Forsmann at 14. Ex 126
  Deposition of Garlick at 19-21. Ex 114, Deposition of Storz at 18-19, 20-21.
          29
               Ex 126, Deposition of Garlick at 19-21.
          30
               Ex 115, Deposition of Molly Johnson at 2-5.

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  the contract. It did not adhere to the four-hour rule promulgated by Corizon itself. Those suffering

  from severe life-threatening withdrawals remained in the jail. Those at risk for progression to more

  severe levels of withdrawal were not kept under constant observation. In the end, patients were

  monitored once every eight-hour shift, if at all.

         Corizon's Medical Director, Dr. Joseph McCarthy, was unaware of any policy or procedure

  concerning monitoring requirements. He was likewise unaware of any contractual requirement for

  monitoring those suffering from drug detoxification. Dr. McCarthy was unfamiliar with the NCCHC

  standards, could not remember if he had ever read them, did not remember anything about them.31

  Corizon's Health Services Administrator, Mandy Forsmann, had never seen, nor heard of the two-

  hour monitoring requirement contained within the contract, nor was she familiar with Corizon's four-

  hour rule regarding drug withdrawal. The only policy that she was aware of was one time per shift.32

  Dr. Garlick had never seen or heard about the two-hour rule contained within the contract.33 RN

  Matthew Northup, the last Corizon employee to see Madaline Pitkin prior to her death, testified the

  only monitoring Corizon did was once per eight-hour shift, unless deputies called for an assessment.34

         D.        Corizon’s Custom and Practice - Understaffing.

         Corizon's Western Region Vice President, George Vaughan, testified that understaffing is a



         31
            Ex 125, Deposition of McCarthy at 7-8, 13-14, 31-32. Ex 140, Deposition of McQueen
  at 12, 13, 16, 17, 18.
         32
              Ex 127, Deposition of Forsmann at 4.
         33
              Ex 126, Deposition of Garlick at 4-5.
         34
              Ex 143, Deposition of Northup at 4-5.

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  safety hazard.35 But nonetheless, Corizon's custom and practice at the Washington County jail prior

  to Madaline Pitkin’s death was to understaff the jail to maximize its profits.

         Corizon's Regional Director Debbie Fye testified that it is Corizon's responsibility to make an

  informed educated guess on staffing.36 Corizon represented to Washington County they would

  provide a responsible staffing plan that provided the appropriate number of qualified medical

  personnel to deliver quality care and meet NCCHC standards. Specifically, they assured the County

  their staffing plan would enable them to meet the immediate medical needs of the inmates and

  detainees in the jail.37 The NCCHC standards requires:

                   A sufficient number of health staff of varying types to provide inmates
                   with adequate and timely evaluation and treatment consistent with
                   contemporary standards of care....The adequacy and effectiveness of
                   the staffing plan are assessed by the facility's ability to meet the health
                   needs of the inmate population.38

         The intent behind the national standards is that the healthcare delivery system has sufficient

  numbers and types of health staff to care for the inmate population.39

                   Physician time must be sufficient to fulfill both clinical and
                   administrative responsibilities... Administrative responsibilities include
                   but are not limited to: reviewing and approving policies, procedures,
                   protocols and guidelines; participating in staff meetings; conducting
                   in-service training programs, participating in quality improvement; and


         35
              Ex 133, Deposition of Vaughan at 25-26.
         36
              Ex 134, Deposition of Fye at 24-26.
         37
              Ex 133, Deposition of Vaughan at 70, 71, 72, 73, 75.
         38
              Ex 140, Deposition of McQueen at 15a-15b.
         39
              Id at 15b.

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                    infection control programs.”40

          Corizon CEO Sylvia McQueen MD was clear: a “Medical Director's obligation is to see that

  the contract is complied with.”41 However, Corizon’s Medical Director at the Washington County

  jail never read the contract, and therefore had little to no idea what the contract required. In fact, the

  Medical Director fulfilled few, if any of the administrative responsibilities associated with his role.42

  The general expectation set forth in the NCCHC standards is that a staffing plan includes, at a

  minimum, one physician on site 3.5 hours a week for each 100 inmates housed at the facility.43 The

  Washington County jail houses up to 573 inmates and detainees at any given time, and is close to full

  at all times.44 This would, at a minimum, require 20 hours of physician time weekly, Corizon's

  staffing plan provided for 12 hours.45

          Corizon’s Health Services Administrator, Mandy Forsmann, was of the opinion the jail was

  understaffed. She received numerous complaints from the staff regarding the lack of standard staffing

  at the jail. She voiced her concerns to the Regional Director, Debbie Fye. She made it known she

  was concerned regarding patient safety due to understaffing. She realized the care that was required




          40
               Id at 42.
          41
               Ex 140, Deposition of McQueen at 10.
          42
               Ex 125, Deposition of McCarthy at 31.
          43
               Ex 140, Deposition of McQueen at 16.
          44
               Ex 136, Deposition of Garrett at 4.
          45
               Ex 139, Deposition of Lynn at 125, 131, 86. Ex 140, Deposition of McQueen at 16.

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  was not always being provided because of understaffing issues. The contract required that an RN

  perform intakes, which meant LPNs were dealing with the most serious patients in the Medical

  Observation Unit of the jail. Mandy Forsmann made her concerns known that the least credentialed

  staff were dealing with the sickest patients in the jail. She knew how dangerous this was and

  informed senior management. Ms. Forsmann's concerns were further compounded by the fact that

  Washington County required two deputies be present before medical providers were allowed to enter

  into the MOU to attend the sickest patients, and frequently there were not enough deputies to ensure

  this would occur.46

          Ms. Forsmann determined the Corizon Medical Director was falsifying medical charts;

  charting he had seen patients, when, in fact, he had not. She complained to senior officials for months

  requesting Dr. McCarthy be fired.47 After many months, Corizon fired Dr. McCarthy, leaving no

  physician in his place.48 The firing of Dr. McCarthy rendered the Physician Assistant Colin Storz

  unable to practice medicine the day of Madaline Pitkin’s death.49 Ms. Forsmann further testified that

  given the Medical Director was falsifying medical records, this position was understaffed by

  definition.50

          Corizon’s Director of Nursing sent an email to the Regional Director of Corizon within days


          46
               Ex 127, Deposition of Forsmann at 20-21, 22-23, 26-31, 32-33.
          47
               Ex 127, Deposition of Forsmann at 8-11.
          48
               Ex 144, Deposition of Wortham at 32-5. Ex 114, Deposition of Storz at 5-6.
          49
               Ex 114, Deposition of Storz at 2-5.
          50
               Ex 127, Deposition of Forsmann at 35.

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  of Madaline Pitkin’s death telling Ms. Fye that the registered nurses at the jail were overwhelmed.51

  Physician Assistant Cris Rettler testified the jail was understaffed.52 Tina Barnes, an LPN, believed

  they should have had more nurses to adequately treat the needs of the patients at the jail.53 LPN

  Courtney Nyman testified the jail was frequently understaffed and it was therefore unrealistic for

  those on staff to deliver the quality of care required under the circumstances.54 Dr. Garlick assumed

  the role of Regional Director in the month after the death of Madaline Pitkin; he commented there

  were “real issues" regarding staffing.55

         E.        The Washington County Audit Report of May, 2013 - Understaffing.

         By May of 2013, the Washington County Auditor, John Hutzler, sent his preliminary findings

  to senior administrators at Washington County, including the Director of Health and Human Services

  and the Assistant County Administrator, outlining the staffing deficiencies at the jail.            He

  recommended the County consider suing Corizon over the failure to provide more than $350,000

  worth of staffing called for by the contract. He concluded between fiscal years 2008 and 2012,

  Corizon was providing well below the minimum specified hours across all disciplines within the jail,

  specifically the Medical Director, registered nurses, licensed clinical social workers, and dentists.56


         51
              Ex 133, Deposition of Vaughan at 84-85.
         52
              Ex 141, Deposition of Rettler at 8-9, 22-23.
         53
              Ex 142, Deposition of Barnes at 2-3.
         54
              Ex 118, Deposition of Nyman at 4-5.
         55
              Ex 126, Deposition of Garlick at 3, 30-31.
         56
              Ex 145, Deposition of Hutzler at 34-36.

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  Mr. Hutzler reiterated his findings and concerns in a further report in the Fall of 2013 to senior

  Washington County officials.57

         F.        Corizon’s Customs and Practices Failed to Ensure That Inmates and Detainees
                   Had Access to Basic Medical Care to Meet Their Serious Health Needs.

         The standards, promulgated by the NCCHC, were intended to ensure that inmates and

  detainees have access to care to meet their serious health needs.58 This is the principle upon which

  all NCCHC standards are based. Corizon represented to Washington County it was their policy to

  provide patients with all necessary medical care, while claiming that withholding necessary care was

  unethical, against company policy, and would not be tolerated. Corizon represented they would run

  a program developed to provide service to the patients in compliance with NCCHC standards.59

  Despite its promises, Corizon routinely denied patients access to the most basic medical care to meet

  their serious health needs. Corizon and its employees were well aware that opioid withdrawal,

  specifically, heroin withdrawal, and associated dehydration, could be deadly if not appropriately

  managed.

         G.        Corizon’s Customs and Practices - Emergency Room Referral.

         CJ Buchanan, an RN who worked for Corizon and the predecessor company for 17 years, the

  Medical Director Dr. Joseph McCarthy, the Health Services Administrator Mandy Forsmann, the

  previous Health Services Administrator Stevens Hyppolite, and RN Matthew Northup cannot recall



         57
              Ex 145, Deposition of Hutzler at 37-42.
         58
              Ex 140, Deposition of McQueen at 11.
         59
              Ex 133, Deposition of Vaughan at 68-69.

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  ever sending a patient suffering from drug withdrawal, specifically heroin withdrawal, to a hospital

  setting.60 Further, Ms. Buchanan, Dr. McCarthy, Ms. Forsmann, and Mr. Northup cannot recall any

  other Corizon employee doing so.61 In fact, as discussed below, Corizon adopted a financial rewards

  program for staff who avoid emergency room referrals.

          H.        Corizon’s Custom and Practice - IV Use for Opioid Withdrawal.

          CJ Buchanan, Dr. Joseph McCarthy, Leslie O'Neil, Tony Wertz, Tina Barnes and Mandy

  Forsmann never administered an IV to a patient suffering from opioid/heroin withdrawal, nor were

  they ever aware of any other Corizon staff member doing so.62 Dr. Ivor Garlick testified Corizon

  does not use IVs unless it's a “real emergency…but then we get them out,” send them to the

  hospital.63

          I.        Corizon’s Custom and Practice - Insufficient Training.

          Corizon’s Western Region Vice President, George Vaughan, testified it was critically

  important to patient safety that staff be well trained, well supervised and well organized.64 However,



          60
           Ex 108, Deposition of Buchanan at 2-3. Ex 125, Deposition of McCarthy at 18-20. Ex
  127, Deposition of Forsmann at 5. Ex 146, Deposition of Hyppolite at 2. Ex 143, Deposition of
  Northup at 2-3.
          61
          Ex 108, Deposition of Buchanan at 3-4. Ex 125, Deposition of McCarthy at 18-20. Ex
  127, Deposition of Forsmann at 12. Ex 143, Deposition of Northup at 2-3.
          62
           Ex 108, Deposition of Buchanan at 12-14, 81. Ex 125, Deposition of McCarthy at 28-
  30. Ex 107, Deposition of O’Neil at 2-3. Ex 124, Deposition of Wertz at 8. Ex 142, Deposition
  of Barnes at 8. Ex 127, Deposition of Forsmann at 6,12 .
          63
               Ex 126, Deposition of Garlick at 28-29.
          64
               Ex 133, Deposition of Vaughan at 24-26, 33-34, 35-37.

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  training was routinely overlooked by Corizon. Corizon employees told this story in their own words

  during depositions:

         •         RN CJ Buchanan did not know if heroin withdrawal could cause death.65 She had no

                   idea if an electrolyte imbalance could stop one's heart.66

         •         Corizon’s Medical Director at the Washington County jail was unaware of any

                   policies or procedures regarding monitoring those suffering from drug withdrawal.67

                   He could not define “acute care facility.”68 He was unfamiliar with the NCCHC

                   standards. He could not remember if he had ever read them and certainly did not

                   remember anything about them. He was unclear whether the Washington County

                   Medical Observation Unit would constitute an “acute care facility.” He had no idea

                   if there was a Continuous Quality Improvement program in place at the jail. He was

                   unaware of any policy or contract provision requiring referral to an acute care facility

                   for those patients experiencing severe progressive withdrawal from opioids. It was his

                   belief Corizon medical staff could effectively manage such people at the jail. He

                   testified that he did not necessarily need to follow either the American Medical

                   Association guidelines or the NCCHC standards.69 He had never heard of Corizon’s


         65
              Ex 108, Deposition of Buchanan at 5.
         66
              Id at 16-17.
         67
              Ex 125, Deposition of McCarthy at 26-27.
         68
              Id at 30.
         69
              Ex 125, Deposition of McCarthy at 5-10, 11-14, 15, 16.

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                   golden rule.70 LPN Courtney Nyman described Dr. McCarthy as someone who did

                   not appear to be a knowledgeable physician.71

         •         RN Matthew Northup, the last Corizon employee to see Madaline Pitkin alive, cannot

                   recall any specific training he ever received regarding severe withdrawal syndromes.72

                   Tony Wertz testified he “supposes” dehydration could be deadly.73 Tina Barnes noted

                   a lack of leadership, management and support. She had no idea what the term “severe

                   withdrawal syndrome” meant.74

         •         Corizon’s Health Services Administrator testified she never saw the two-hour rule

                   outlined in the contract, nor did she ever see the Corizon policy relating to a four-

                   hour rule regarding the treatment of dehydration.75 In fact, she never saw any policy

                   regarding dehydration.76 The Regional Medical Director had never seen or heard of

                   the two-hour rule outlined in the contract. He had no idea what an acute care facility

                   was per the NCCHC standards. In fact, Dr. Garlick trained the medical staff that when

                   severe opioid withdrawal is occurring in a patient at the jail, it is permissible to keep


         70
              Id at 17, 16. Ex 107, Deposition of O’Neil at 16-17.
         71
              Ex 118, Deposition of Nyman at 2-3.
         72
              Ex 143, Deposition of Northup at 2.
         73
              Ex 124, Deposition of Wertz at 6.
         74
              Ex 142, Deposition of Barnes at 4, 5-6.
         75
              Ex 127, Deposition of Forsmann at 4.
         76
              Ex 127, Deposition of Forsmann at 7.

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                    the patients at the jail.77 Physician Assistant, Cris Rettler, testified the Corizon staff

                    was insufficiently trained.78

          As a staff, they were poorly trained and completely unprepared for what they faced with

  Madaline Pitkin, a textbook case of severe opioid withdrawal, which caused extreme dehydration,

  resulting in her death.

          J.        Corizon’s Custom and Practice - Profits First.

          Cris Rettler was a Physician Assistant employed by Corizon for approximately 18 months,

  leaving in the latter part of 2013. She left over concerns about the level of care being offered to

  patients at the Washington County jail and the fear she would lose her medical license if she continued

  to practice medicine as prescribed by Corizon’s senior administrators. During her tenure at the

  Washington County jail, Ms. Rettler developed the opinion that Corizon was placing profit over

  patient safety. It was her belief Corizon’s policies and customs of cutting costs were in direct conflict

  with the goal of caring for the patients of the jail. She concluded the Corizon nurses were

  undertrained and the jail understaffed.           She testified she was under constant pressure from

  supervisors, particularly Corizon’s Regional Manager, Dr. Ivor Garlick, to minimize emergency room

  visits and referrals to outside physicians for specialty consultations. Ms. Rettler was required to

  attend weekly meetings with Dr. Garlick, who made it clear that virtually everything could and should

  be handled within the confines of the jail. She could not remember a single occasion when Dr.

  Garlick agreed with any of her ER referrals. She repeatedly watched Corizon delay care to patients

          77
               Ex 126, Deposition of Garlick at 6-7, 32.
          78
               Ex 141, Deposition of Rettler at 6.

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  pending their release from jail, jeopardizing their safety while attempting to maximize profits. This

  was openly touted as a cost savings measure. It was her belief that Corizon's constant efforts to

  reduce costs interfered with her ability and the ability of the jail healthcare staff to provide appropriate

  levels of care.79

          She attended meetings at Corizon’s corporate headquarters. These meetings were almost

  exclusively focused on cost savings. Among the topics highlighted was limiting emergency room

  visits. She recalled little regarding patient care and safety from the meetings; virtually everything was

  devoted to cost savings and profit maximization. As a healthcare provider she was sickened by what

  she heard.80

          K.        Cris Rettler Report to Sheriff Garrett.

          In 2013, Ms. Rettler took the extraordinary step of meeting on two occasions with

  Washington County Sheriff Pat Garrett. She also had multiple discussions with a representative of

  the Washington County Auditor’s staff, Latham Stack, and summarized all of her concerns regarding

  patient safety. She specifically told Sheriff Garrett about the critical nursing shortage at the jail. She

  detected no changes in jail staffing after meeting with the Sheriff. She told Sheriff Garrett the level

  of care was very concerning from a medical ethics standpoint and it was only a matter of time until

  there was a bad outcome. 81




          79
               Ex 141, Deposition of Rettler at 2-7, 9-13, 21.
          80
               Ex 141, Deposition of Rettler at 9-18.
          81
               Ex 141, Deposition of Rettler at 4-6, 12-13, 19-20, 25-26.

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         L.        Corizon’s Bonus Program.

         Corizon offered a bonus program to medical staff by compensating employees for eliminating

  emergency room visits. PA Colin Storz’ offer of employment included a bonus clause as follows:

                   …for every patient/procedure you treat that results in the elimination
                   of an emergency room visit, you will be compensated an additional
                   $150.00 per instance.”82

         M.        Corizon’s Custom and Practice - No Continuous Quality Improvement
                   Program.

         A Continuous Quality Improvement Program (CQI) as outlined in the NCCHC standards,

  monitors and improves healthcare delivery within the facility.83

         The standards outlined by the NCCHC are intended to ensure that a facility uses a structured

  process to find areas in the healthcare delivery system that need improvement, and that when such

  areas are found, staff develop and implement strategies for improvement. One essential element of

  quality improvement is the monitoring of high risk, high volume, or problem-prone aspects of

  healthcare provided to the patients. The CQI committee should meet at least quarterly to establish

  objective criteria for use in monitoring quality of care, developing plans for improvement based on

  monitoring findings and to assess the effectiveness of these plans after they are implemented. The

  responsible physician has a leadership role in the CQI process. Certain events, such as acute care

  hospital admission, medical emergencies and deaths must be routinely reviewed. When reviewed

  routinely, one of the benefits of a successful CQI program is that problems can be identified early and



         82
              Ex 114, Deposition of Storz at 24-25.
         83
              Ex 140, Deposition of McQueen at 12.

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  strategies developed for resolution before they worsen.

                  A comprehensive CQI program includes a multidisciplinary quality
                  improvement committee, includes monitoring of the areas specified in
                  the compliance indicators, and an annual review of the effectiveness
                  of the CQI program itself. In addition, the program includes two
                  process quality improvement studies and two outcome quality
                  improvement studies, and both studies identify areas in need of
                  improvement and effective remedial actions strategies. A
                  multidisciplinary quality improvement committee is a group of health
                  staff from various disciplines (e.g. medicine, nursing, mental health,
                  dentistry, health records, pharmacy, laboratory) that design quality
                  improvement monitoring activities, discusses the results, and
                  implements corrective action.

                  Process quality improvement studies examine the effectiveness of
                  healthcare delivery process. Outcome quality improvement studies
                  examine whether expected outcomes of patient care were achieved.

                  Fundamentally, a CQI program identifies problems, implements and
                  monitors corrective action, and studies its effectiveness. The NCCHC
                  requires facilities with an average daily population of greater than 500
                  inmates have a comprehensive CQI program that does the following:

                  A.      “Establishes a multidisciplinary quality improvement
                  committee that meets as required, but not less than quarterly, designs
                  quality improvement monitoring activities, discusses the results, and
                  implements corrective action;

                  B.     Completes an annual review of the effectiveness of the CQI
                  program by reviewing CQI studies and minutes of CQI,
                  administrative, and/or staff meetings, or other pertinent written
                  materials; and

                  C.     Performs at least two process quality improvement studies and
                  two outcome quality improvement studies a year.”84

         Corizon’s Chief Medical Officer for the community division testified that when Corizon is


         84
              Ex 140, Deposition of McQueen at 13-14.

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  working with a client like Washington County, which is accredited by the NCCHC, they were to have

  an appropriate CQI program in place. Given the Washington County jail houses in excess of 500

  detainees and inmates, this would mean a “comprehensive” CQI program.85 When asked, Corizon’s

  own Medical Director for the Washington County jail did not know if Corizon had a CQI program

  in place.86

          Twenty-nine days before Madaline Pitkin’s death, Regional Vice President, Debbie Fye, sent

  an email to Western Region Vice President George Vaughan, Chief Clinical Officer Dr. Harold Orr,

  Regional Vice President Charles Guffey, Regional Medical Director Dr. Ivor Garlick, and Regional

  Director of Nursing Vicki Thomas, referencing a meeting with the Health Services Administrator at

  the Washington County jail. The two of them discussed “the forming of a Quality Improvement

  Committee – currently they do not have one."87 The Washington County Auditor pointed out that the

  contract required all jail healthcare services be reviewed and evaluated for quality of care through

  established and regularly performed audits. He found no evidence the audits had been performed.

  Corizon represented to the Auditor it had a quality assurance program, but it did not report any of

  the results of his quality assurance audits to the Medical Audit Committee (MAC) or the contract

  administrator. Despite numerous requests by the Auditor, Corizon could not provide the Auditor

  with evidence that specific audits were actually conducted. In fact, Corizon took the position it was




          85
               Ex 140, Deposition of McQueen at 2-5.
          86
               Ex 125, Deposition of McCarthy at 10.
          87
               Ex 133, Deposition of Vaughan at 82-83.

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  the County's responsibility to perform the audits.88

         The Washington County Auditor concluded that Corizon breached its contract with the

  County requiring it to review and evaluate quality of care through established and regularly performed

  audits. He found no evidence that these audits had been performed. He concluded that contrary to

  its representations, Corizon did not have a quality assurance program in place and did not report the

  results of its quality assurance audits to the MAC or the contract administrator. Despite his many

  requests for documents, he was never provided sufficient proof demonstrating the quality of car e at

  the jail was being reviewed consistent with the terms of the contract.89

         The Auditor also found Corizon had not tailored its policies and procedures to the

  Washington County jail as required by the NCCHC.90 Corizon was severely understaffing the jail.

  He estimated that between July 1, 2008 and June 30, 2012, Corizon received at least $350,000 of

  County funds for services never provided. In fiscal year 2012, Corizon provided only 56% of the

  contracted hours for the medical director position and 46.5% for registered nursing time. There was

  a 275 hour deficit in the medical director time. Mr. Hutzler further found Corizon did not report

  claims made against it, did not obtain County approval of subcontractors like that of Dr. McCarthy,

  and refused to provide access to records, stonewalling the Auditor in his quest to determine the cause




         88
              Ex 139, Deposition of Lynn at 39-44. Ex 145, Deposition of Hutzler at 39-41.
         89
              140, Deposition of Lynn at 39-44. Ex 145, Deposition of Hutzler at 39-41.
         90
              Ex 139, Deposition of Lynn at 39.

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  of cost overruns to the taxpayers of Washington County.91

         As of the time of Madaline Pitkin's death, despite all the recommendations from the Auditor

  extending back to the Spring of 2013, there had been little, if anything, acted upon by Corizon or the

  County.92

         N.        In Spring 2014 Corizon Was Not in Compliance with NCCHC Standards.

         The NCCHC reviews jail healthcare systems for accreditation purposes every three years.

  Compliance with 85% of standards is required to maintain accreditation.93 Corizon’s Western Region

  Vice President George Vaughan testified it was incumbent upon Corizon to comply daily with the

  NCCHC standards, as failing to do so jeopardizes patient health and safety. On a scale of 1 to 10,

  Mr. Vaughan rated compliance with the standards as a 10 in terms of importance.94

         Corizon representatives conducted a “site visit” at the Washington County jail in October of

  2014. The purpose of the visit was to evaluate preparedness for the oncoming NCCHC audit to

  occur in December. The site visit was led by Leonora Mohammed. She concluded “there is quite

  a bit of work to pass this NCCHC audit as well.” After the visit, Corizon representatives discussed

  contacting the NCCHC and delaying the audit. They indicated multiple site issues needed attention

  “currently not NCCHC prepared…”95


         91
              Ex 139, Deposition of Lynn at 39.
         92
              Ex 145, Deposition of Hutzler at 29-31.
         93
              Ex 139, Deposition of Lynn at 44.
         94
              Ex 133, Deposition of Vaughan at 28-32.
         95
              Ex 133, Deposition of Vaughan at 78-81.

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         Specifically:

         •          Access to care issues - staff unable to access the MOU (Medical Observation Units)

                    as necessary for medication pass assessments.

         •          Missing pertinent policies, procedures, binders, etc. This included the policy and

                    procedure manual and the CQI binder.

         •          Nurses sick call out of compliance. There were no mechanisms to determine a

                    timeline of Health Service Requests, triage and being seen.

         •          The PA and SMD (Site Medical Director) clinic is very unorganized. PA states he

                    has no mechanism to keep track of patients in chronic care. Not sure of procedures

                    for starting medications.96

                                                  ARGUMENT

  I      SUMMARY JUDGMENT STANDARDS

         Defendants’ initial burden as the moving party on summary judgment is to show that no

  genuine issue of material fact exists or that a material fact essential to the nonmovant’s claim is

  missing. Celotex Corp. v. Catrett, 477 US 317, 322-324 (1986). If the movant carries its burden,

  then the nonmovant must present “specific facts showing that there is a genuine issue for trial.”

  Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 US 574, 586–87 (1986) (quoting Fed. R.

  Civ. P. 56(e)).

         A fact is “material” if it could affect the outcome of the case and an issue is “genuine” if a




         96
              Ex 133, Deposition of Vaughan at 78-81.

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  reasonable jury could find in favor of the non-moving party. Rivera v. Phillip Morris, Inc., 395 F3d

  1142, 1146 (9th Cir, 2005) (citation omitted); Fricano v. Lane County, 2018 WL 2770643 at *5 (D

  Or, 2018).

         When ruling on a motion for summary judgment, the court must view the evidence in the light

  most favorable to the nonmovant and draw all reasonable inferences in its favor. Anderson v. Liberty

  Lobby, Inc., 477 US 242, 255 (1986).

  II     MONELL CLAIMS

         Plaintiffs’ claims, as those of a pretrial detainee, are properly analyzed under the Due Process

  Clause of the Fourteenth Amendment. Frost v. Agnos, 152 F3d 1124, 1128 (9th Cir, 1998). 42

  U.S.C. § 1983 allows an individual to bring suit against a municipality and its officials for depriving

  her of a constitutional right. Monell v. Dep't of Social Servs. of the City of New York, 436 US 658,

  690-91 (1978). To prevail in such an action, a plaintiff must show that the defendant both (1) acted

  “under color of state law” and (2) deprived her of a “right secured by the Constitution or laws of the

  United States.” Long v. Cty. of Los Angeles, 442 F3d 1178, 1185 (9th Cir, 2006).

         There is no dispute that Corizon, as a contract provider of medical services, may be liable

  under Monell. Johnson v. Corizon Health, Inc., 2015 WL 1549257, at *9 (D Or, 2015), Deloney

  v. County of Fresno, 2018 WL 3388921, *8 note 15 (ED Cal, 2018) (citing Johnson); Oyenik v.

  Corizon Health Inc., 696 Fed Appx 792, 793–95 (9th Cir, 2017).

         A.      Municipal Liability - The Elements.

         The requirements for municipal liability under Monell was most recently discussed in Fricano,

  2018 WL 2770643, at *9:

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                     A municipal entity is not responsible for the acts of its employees
                 under a respondeat superior theory of liability. City of Canton v.
                 Harris, 489 US 378, 386 (1989). Instead, “it is only when the
                 execution of the government's policy or custom inflicts the injury that
                 the municipality may be liable under § 1983.” Id. To prevail on a claim
                 of deliberate indifference against a municipal entity, a plaintiff must
                 show that (1) she was deprived of a constitutional right, (2) the entity
                 had a policy or custom evincing its deliberate indifference to the
                 prisoner's constitutional right, and (3) the policy or custom was the
                 moving force behind the constitutional violation. Burke v. Cty. of
                 Alameda, 586 F3d 725, 734 (9th Cir, 2009).

  See also Johnson, 2015 WL 1549257, at *12.

                 1.      Deprivation of a Constitutional Right.

         The deprivation of a constitutional right may be based on the deliberate indifference of an

  individual to the serious medical needs of a detainee “if the municipality’s policies and customs were

  a moving force behind this deprivation and reflect their own deliberate indifference.” Fricano at *10.

         However, the deliberate indifference of an individual is not a requirement for finding

  deprivation on the part of a municipality. The court in Fricano, at *10 said:

                 [A] jury may find that, even if Mr. Pleich [the individual] is not
                 personally liable, the combined acts or omissions of other officials
                 operating under a municipal policy or custom, or an affirmative policy
                 or custom which is constitutionally suspect on its face, created a
                 “substantial risk of serious harm” to Mr. Fricano and was employed
                 despite the risk of such harm being “obvious.” [Gibson v. County of
                 Washoe, Nev., 290 F3d 1175 (9th Cir, 2002)] Id. at 1188-90; see also
                 Speer v. Glover, 276 F3d 980, 986 (8th Cir, 2002); Garcia v. Salt
                 Lake Cty., 768 F2d 303, 310 (10th Cir, 1985); Anderson v. City of
                 Atlanta, 778 F2d 678, 686 (11th Cir, 1985).

                 2.      Policies and Customs.

         A local government may be liable for policies of inaction as well as action. In Johnson, at *9



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   the court describes the policies:

                  A policy of action is one in which the governmental body itself
                  violates someone's constitutional rights, or instructs its employees to
                  do so; a policy of inaction is based on a governmental body's “failure
                  to implement procedural safeguards to prevent constitutional
                  violations.” Tsao v. Desert Palace, Inc., 698 F3d 1128, 1143 (9th Cir,
                  2012).

          Following the case of Gordon v. Cty. of Orange, 888 F3d 1118, 1185 (9th Cir, 2018) there

  is no distinction between policies of “action” and policies of “inaction.” Both are analyzed under an

  objective standard and “both require deprivation of a constitutional right, a causal link between that

  deprivation and municipal policy and recklessness.” Fricano at *9.

          In Estate of Vela v. Cty. of Monterey, 2018 WL 4076317, at *3 (ND Cal, 2018) the court

  explained:

                  The deliberate indifference standard for municipalities is an objective
                  standard. Castro [v. County of Los Angeles, 833 F3d 1060 (9th Cir,
                  2016)] at 1076. “[A]n objective standard applies to municipalities ‘for
                  the practical reason that government entities, unlike individuals, do
                  not themselves have states of mind.’ ” Mendiola-Martinez [v. Arpaio,
                  836 F3d 1239 (9th Cir, 2016)] at 1248 (quoting Castro, 833 F3d at
                  1076). “This Castro objective standard is satisfied when ‘a § 1983
                  plaintiff can establish that the facts available to city policymakers put
                  them on actual or constructive notice that the particular omission [or
                  act] is substantially certain to result in the violation of the
                  constitutional rights of their citizens.’” Id at 1248-49 (quoting Castro,
                  833 F3d at 1076) (alteration in original).

          A policy or custom includes the decisions of a government’s lawmakers and its policymaking

  officials. Connick v. Thompson, 563 US 51, 61 (2011); Fricano at *10. It may also be established

  “ by showing that the municipal entity had a permanent and well-settled practice, or “custom,” which

  gave rise to the constitutional violation. City of St. Louis v. Praprotnik, 485 US 112, 127 (1988);”

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  Fricano at *10.

         Random or isolated acts are insufficient to establish custom. However, behavior toward a

  single individual may be sufficient. The court in Fricano at *10 stated:

                 [T]here is no case law that a custom cannot be inferred from behavior
                 toward a single individual.” Oyenik v. Corizon Health, Inc., 696 Fed
                 Appx, 792, 794 (9th Cir, 2017) (citation omitted); see also Navarro v.
                 Block, 72 F3d 712, 714-15 (9th Cir, 1995) (“Once such a showing is
                 made, a municipality may be liable for its custom irrespective of
                 whether official policy-makers had actual knowledge of the practice
                 at issue.”)

                 3.      Deliberate Indifference.

         The policy or custom must amount to a deliberate indifference to the serious medical needs

  of the prisoner or detainee. Fricano at *12:

                 A jury can consider the policies and contracts of Corizon to show
                 awareness of the risks. Here, Corizon's customs of failing to screen,
                 treat, and transfer acutely ill detainees were all contrary to its own
                 written policies and contract with Lane County. A jury could find it
                 obvious that failing to perform these services would likely result in
                 dangerously deficient medical care, and, indeed, Corizon's own
                 policies evidence that it understood these risks. See Johnson v.
                 Corizon Health, Inc., No. 6:13–cv–1855–TC, 2015 WL 1549257, at
                 *10 (D Or, Apr. 6, 2015) (relying on policies and contract to find the
                 same). [Emphasis added.]

                 4.      Moving Force.

         A policy or custom must be a moving force behind the violation of a constitutional right. To

  be a moving force the policy must be “closely related to the ultimate injury.” Gibson v. County of

  Washoe, Nev., 290 F3d 1175, 1196 (9th Cir, 2002) quoting City of Canton v. Harris, 489 US 378,

  391 (1989).



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         B.        Specific Customs and Policies - Causation.

         Corizon first challenges 7 customs and practices as not being a cause. They are answered

  separately.

                   1.     Staffing Levels.

         Corizon states: “Pitkin was assessed several times over seven days by a total of six Corizon

  employees at the jail * * *.” Corizon Motion at 5.

         Ms. Pitkin was evaluated with vital signs and the COWS scale 3 times rather than the 21 times

  required by Corizon’s own standards. Her vitals should have been documented every 2 hours. None

  were done during the 22 hours she was in the Medical Observation Unit.97 None of the 4 Medical

  Request Forms submitted by Ms. Pitkin resulted in her being seen by a nurse or other medical

  provider. These constitute violations of the standard of care and of Corizon’s own policies. 98

         Corizon states: “There is no suggestion, much less proof that her death was caused by a

  failure of staff to address her needs because of staffing levels.” Corizon Motion at 5.

         The jail was frequently understaffed and the staff was overwhelmed and concerned with their

  inability to provide adequate care to the inmate population.99 The medical team was understaffed, and

  not supervised as required by law. Several staff members on duty the day of Madaline Pitkin’s death




         97
              Ex 106, Expert Statement of John May, MD (Certified Correctional Health Care) at 2.
         98
              Ex 111, Expert Statement of Marge Willis, RN (Nursing Practices) at 2-3.
         99
           Ex 147, Expert Statement of Stephen Kinder, RN (Head of Division of Management,
  School of Medicine, OHSU) at 3.

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  were not adequately trained. 100

         The standards for health services and jails by the NCCHC were not followed. Medical staff

  did not provide constant observation of Ms. Pitkin, physician supervision was not adequate and

  medical staff did not transfer Ms. Pitkin immediately to an acute care facility for emergency care. 101

         Non-action by staff was a breach of the standard of care and grossly negligent, leading to the

  death of Ms. Pitkin.102

         The grossly deficient staffing levels at the jail, including the medical director and the nursing

  staff, are outlined above. This is similar to the situation faced in Fricano. There the court detailed

  the staffing deficiencies by Corizon at the Lane County jail. The court, at *11 said:

                   A reasonable jury could find that, based on the paltry hours worked
                   by Dr. Richenstein and the absence of an onsite clinical supervisor,
                   Corizon had a custom of inadequately staffing and supervising its
                   mental health division and that, along with the lack of ameliorative
                   care offered by available staff, this created a substantial risk of serious
                   harm.

         Corizon’s failure to act on concerns communicated to it regarding staffing levels posed a risk

  of harm to patients and a reckless disregard to the health, safety and welfare of Ms. Pitkin. 103

                   2.       Storz’s On-Call Payments.

         Corizon argues that plaintiffs misinterpret Storz’s on-call compensation. Corizon Motion at



         100
               Ex 128, Expert Statement of David Smith, MD (Addiction Medicine) at 1.
         101
               Ex 104, Expert Statement of Susan Garson, RN (Nursing Practices) at 3.
         102
               Ex 111, Expert Statement of Marge Willis, RN (Nursing Practices) at 3.
         103
               Ex 111, Expert Statement of Marge Willis, RN (Nursing Practices) at 4.

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  5-6.

          Offering Storz a $150 incentive in his welcome letter upon hiring to do procedures in the

  MOU rather than send an inmate to the hospital fits the profile of intentional underutilization that

  benefits both parties (Storz and Corizon). 104 It creates a clear conflict of interest. 105

          A jury could find that financial incentives to Corizon employees who avoid transferring

  patients to the emergency room are part of a custom and practice designed to maximize Corizon

  profits. The Corizon plan was successful. As noted above, Buchanan, McCarthy, Forsmann and

  Northup cannot recall ever sending a patient suffering withdrawal to a hospital. Nor can they

  remember any other Corizon employee doing so, nor do they recall ever sending an inmate to the ER

  for opioid withdrawal or hearing of anyone else doing that.106 Dr. McCarthy was not aware of any

  policy of Corizon to send someone to the hospital suffering from severe or progressive withdrawal.107

                    3.     Training Policies.

          Corizon states: “[T]here is no pattern of incidents similar to Pitkin’s situation showing a clear

  need for different training.” Corizon Motion at 6.

          Corizon staff was inadequately trained and failed to follow training guidelines in numerous




          104
          Ex 147, Expert Statement of Stephen Kinder, RN (Head, Division of Management,
  OHSU) at 3.
          105
                Ex 109, Expert Statement of Samuel Freedman, MD (Emergency Medicine) at 8.
          106
                Ex 125, Deposition of McCarthy at 18-19.
          107
                Ex 125, Deposition of McCarthy at 13.

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  respects related to care of Ms. Pitkin.108

          Contrary to Corizon’s statement, behavior towards a single individual may be sufficient to

  show a custom. Oyenik v. Corizon Health, Inc., 696 Fed Appx, at 794; Fricano at *10.

          Evidence of inadequate training includes ignorance of national standards with regard to health

  care and ignorance of contract terms regarding health care. Johnson at *11 (discussing national

  standards and contract requirements for intake screening).

                    4.     Staff Meetings and Physician Supervision.

          Corizon makes the conclusory statement that lack of physician supervision or staff meetings

  “could have no causal relationship with Pitkin’s treatment or death.” Corizon Motion at 7.

          Dr. McCarthy was the only physician ever to see Ms. Pitkin at the jail. In the middle of his

  assumption of treatment he was fired for falsifying medical records and not examining patients in need

  of clinical evaluation.109

          After McCarthy’s firing the staff was unsupervised. The next highest level of medical

  professional was a physician’s assistant, who was unable to practice without a supervising physician.

  The Regional Medical Director, a policy-making official at Corizon, chose not to assume the care of

  patients himself or to obtain an immediate substitute. He took no action to evaluate the patients in

  the MOU and provided no instruction to staff. This approach increased a risk of injury to all the

  patients.110


          108
                Ex 104, Expert Statement of Susan Garson, RN (Nursing Practices) at 4-5.
          109
                Ex 109, Expert Statement of Samuel Freedman, MD (Emergency Medicine) at 3.
          110
                Ex 109, Expert Statement of Samuel Freedman, MD (Emergency Medicine) at 4-6.

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         The termination of Dr. McCarthy was planned. No alternative physician was in place and the

  plan for coverage was ambiguous. McCarthy’s actions amount to abandonment and Corizon’s nearly

  amount to abandonment of not only Ms. Pitkin but all of the patients in the facility.111

         Dr. Garlick, the Regional Medical Director, had no plan to tell the staff about the firing. He

  didn’t think it was necessarily important to have a medical director at the site. He didn’t know that

  PA Storz could not practice without a physician supervisor. Dr. Garlick was sent by Corizon to do

  a task - Fire Dr. McCarthy - and he did it.112

         It seems obvious that if there is no physician there can be no physician supervision. See Paris

  v. Conmed Healthcare and Coos County, 2017 WL 7310079 at *5, 12 (D Or, 2017)(Findings and

  Recommendations of Magistrate Judge Coffin) adopted by 2018 WL 664807 (D Or, 2018)(McShane,

  J).

                   5.     Suboxone Use.

         Corizon contends that failure to use Suboxone could not be a cause of Ms. Pitkin’s death.

  Corizon Motion at 4, 7. Corizon claims that it was but one alternative form of treatment. Corizon

  points to the report of Linda Moore, RN, that Subozone is not recommended for patients with a

  COWS score of 10 or below. This ignores the fact that Ms. Pitkin’s second COWS score was more

  accurately a “25" and her third a “36.”

         Suboxone is used at some Corizon facilities. According to Dr. Garlick it is an effective




         111
               Ex 106, Expert Statement of John May, MD (Correctional Health Care) at 4.
         112
               Ex 126, Deposition of Garlick at 25-27.

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  treatment for maintenance and for detox.113 He has advocated using the drug at Corizon since 2010

  or 2011. It takes time to get the physicians licensed. As of April 2014 it was only used in New

  Mexico by Corizon. 114

         Suboxone is a form of Buprenorphine. Ms. Pitkin’s life could have been saved had she been

  adiminstered buprenorphine in the form of Suboxone. This is the standard of practice for the

  treatment of opioid withdrawal. It can be administered by a waivered physician who has taken an

  eight hour training course. The medical supervisor was waivered to administer Suboxone.115

         Buprenorphine was listed as a medication option. It is a lifesaving medication used to prevent

  dangerous withdrawal from opioids. This protocol was not initiated for Ms. Pitkin.116

                   6.     Treatment of Inmates Perceived as Nearing Release.

         Corizon argues that there is no evidence that Ms. Pitkin was nearing release and that there

  is no causal relationship because she did get medical care. Corizon Motion at 8.

         With regard to patients thought soon to be released from jail, Corizon misapprehends the

  plaintiffs’ position. Corizon’s practice was to delay referral treatment, including emergency room

  treatment, in anticipation that the patient would be released.

         PA Chris Rettler, a former Corizon employee, described the practice. Emergency room

  referrals and physician referrals had to be approved by Dr. Garlick in a once-weekly phone


         113
               Ex 126, Deposition of Garlick at 10-11.
         114
               Ex 126, Deposition of Garlick at 22-24.
         115
               Ex 128, Expert Statement of David Smith, MD (Addiction Medicine) at 2-3.
         116
               Ex 105, Expert Statement of Lisa Sewell, RN (Addiction Medicine) at 3.

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  conference. Corizon would procrastinate on referrals as long as possible. Chris Rettler reported

  directly to Dr. Garlick. In that weekly phone conference Rettler would go through the list of patients

  she felt needed to be referred to the ER. He would tell her why it was not appropriate to send that

  person to the ER.117 They would procrastinate as long as they could on referrals because you had to

  get approval. Ms. Rettler was told that they were hoping that the patient would leave before they had

  to be referred.118

                    Because, again, they were hoping that they would get kicked. And
                    they specifically told me that; that, like they were hoping that the
                    patient would leave before they had to get this referral.”119

          With regard to Corizon’s causation argument that Ms. Pitkin did get the medical care she

  needed, suffice it to say there is evidence to the contrary.

          C.        Breaches of Contract.

          First, Corizon claims that a contract breach cannot form the basis of the claim.

          The contract between Washington County and Corizon sets out many provisions for the

  health and safety of inmates. This contract was routinely breached by Corizon and the breaches were

  ratified by Washington County. See Response to Motion of Washington County. It is well

  established that such a breach of contract can give rise to Monell liability if it is a custom or policy.

  See eg Fricano at *12 (“Since there is no evidence that Sheriff Truner ever penalized or enforced the

  terms of Corizon’s contract, it would be reasonable to find that Lane County ratified Corizon’s


          117
                Ex 141, Deposition of Rettler at 6, 7.
          118
                Ex141, Deposition of Rettler at 11, 12.
          119
                Ex 141, Deposition of Rettler at 11.

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  deficient practices.”); Paris, 2017 WL 7310079 at *13 (Coos County failure to enforce contractual

  provisions which require higher levels of medical expertise that actually provided.)

           The only authority Corizon cites is San Bernardino Physicians Servs. Med. Grp., Inc. v. San

  Bernardino County, 825 F2d 1404, 1408 (9th Cir, 1987). That was a breach of contract claim by

  a medical group against the county for terminating their contract. It is true that not every breach of

  contract claim against a state is a federal 1983 claim. Whether a contract breach can give rise to a

  1983 violation depends on the type of contract; if the contract involves certain protected interests.

  Certain contracts, including certain property contracts are entitled to 1983 protection. David Hill

  Development, LLC v. City of Forest Grove, 688 F Supp 2d 1193 (D Or, 2010).

           Which is all beside the point. Plaintiffs do not sue for breach of contract. Rather, plaintiffs

  claim that Corizon had customs and policies to ignore the important safety protections which they

  had agreed to follow in their contract with Washington County and that the violation of those

  protections resulted in a constitutional violation of the right to adequate medical care.

           Second, Corizon argues that the contractual requirements for monitoring were not a moving

  force.

           Corizon’s argument requires acceptance that there was a “low risk of harm from opiate

  withdrawal and that the COWS assessments were never above ‘ mild.’” Corizon Motion at 10. Each

  of these contentions has contradictory evidence.

           D.     Remaining Claims.

           Defendant Corizon contends that plaintiffs cannot prevail on the remaining claims because

  they do not show an underlying constitutional violation by a Corizon employee. Corizon motion at

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  11.

         First, as discussed above, liability of an individual is not a requirement for Monell liability for

  customs and policies. Gibson v. County of Washoe, Nev., 290 F3d at 1188-90; Fricano at *10.

  Second, Corizon’s position requires the court to agree that “no Individual Defendants were

  deliberately indifferent.” Corizon Motion at 11. There is contradictory evidence. See Response to

  Motion for Summary Judgment - Individual Defendants.

         E.      Failure to Train.

         This is previously discussed.

  III    NEGLIGENCE CLAIMS BASED ON CONDUCT OF DURU, JOHNSON AND
         STORZ

         The conduct of each employee is discussed above. With Johnson and Storz there is evidence

  of deliberate indifference. Deliberate indifference claims require a higher standard than negligence

  claims. If deliberate indifference claims are supported by the evidence then negligence claims are

  likewise supported. Paris, 2017 WL 7310079 at *15.

         With LPN Duru plaintiffs have conceded that her conduct did not rise to the level of deliberate

  indifference. However there is evidence that she negligently recorded Ms. Pitkin’s COWS assessment

  as an “8" rather than the correct “10". Such a mistake would have significant consequences. A score

  of “8" is classified as mild. A score over a of “10" requires substantial increases in monitoring.

                                               CONCLUSION

         At each stage in her incarceration at the Washington County Jail Ms. Pitkin’s serious medical

  needs were met with deliberate indifference. Up until the very end when she was abandoned by her



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  physician she could have been saved by transfer to a competent acute care center. On her journey

  to death she was accompanied by unbearable suffering, pain and distress.

         Defendant Corizon’s Motion for Summary Judgment should be denied.



         DATED this 9th day of November, 2018.

                               TIM JONES PC

                               PAULSON COLETTI

                                   and

                               HALLMAN LAW OFFICE

                               By: s/ W. Eugene Hallman
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